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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                    JOINT STATUS REPORT

       Pursuant to the Court’s May 28, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       Joint Position of the Plaintiff and Defendants

       Plaintiff and Defendants advise the Court that they have had additional communications

regarding a possible resolution of their differences in this matter. Plaintiff and Defendants

therefore request that they be directed to file a final status report on or before July 30, 2021, to

inform the Court whether a resolution has been reached, and if so, on what terms.

       Defendants would not object in the meantime to a corresponding extension of the Court’s

prior Minute Orders requiring 72 hours’ notice to counsel for the Defendant-Intervenors before

any release of the Defendant-Intervenors’ tax-return information to the Committee.
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       Position of the Intervenor-Defendants

       Intervenor-Defendants do not oppose the government‘s proposal on how to proceed,

provided the court leaves in place the existing order allowing for notice and an opportunity to

challenge if the government’s position changes. Intervenor-Defendants note that they have not

yet been included in any of the discussions between Plaintiff and the government, and ask that, if

this is going to be the final requested extension, they be included in the discussions at some point

before the next status report is submitted so they have adequate time to decide how to proceed.


Dated: July 2, 2021


                                                  Respectfully submitted,

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                                                  Deputy Assistant Attorney General

                                                  JOHN R. GRIFFITHS
                                                  Director

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director


                                                   /s/James J. Gilligan
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